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       Cameron Gainer, an individual
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  18                         UNITED STATES DISTRICT COURT

  19                        CENTRAL DISTRICT OF CALIFORNIA

  20
        CAMERON GAINER, an individual             Case No.: 8:17-CV-00672
  21
                     Plaintiff,                   [Hon. James V. Selna]
  22
               vs.
  23                                              STIPULATION RE DISMISSAL
        THE KETCHUM GROUP, INC.,et al,            OF ACTION
  24
                     Defendant.
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                                      STIPULATION RE DISMISSAL
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   1          WHEREAS, the parties have entered into an agreement resolving this action;
   2          WHEREFOR, IT IS HEREBY STIPULATED by and between the parties to
   3   this action through their designated counsel that, pursuant to the terms of the
   4   agreement, the above-captioned action and related counterclaims are hereby
   5   dismissed with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1), with
   6   each party to bear its own litigation costs, attorneys’ fees, and other expenses arising from
   7   or related to this action.
   8          SO STIPULATED:
   9
         DATED: July 18, 2018               ROBINS KAPLAN LLP
  10

  11                                                /s/ François Ecclesiaste
                                            By                            ________
  12                                                    François Ecclesiaste
                                            Attorneys for Plaintiff,
  13                                        CAMERON GAINER
  14
         DATED: July 18, 2018               THE KNEAFSEY FIRM, INC.
  15

  16                                                  /s/ Sean Kneafsey
                                            By                                  ________
  17                                                     Sean Kneafsey
  18                                        Attorney for Defendant,
                                            KETCHUM INC.
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                                          STIPULATION RE DISMISSAL
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   1
                                         ATTESTATION
             I, Sean M. Kneafsey, am the CM/ECF user whose ID and password are being
   2
       used to file this document. In compliance with L.R. 5-4.3.4(a)(2)(i), I hereby attest
   3
       that all signatories have concurred in the filing of this document.
   4

   5
                                                        /s/ Sean M. Kneafsey
   6                                          By                               ________
                                                      Sean M. Kneafsey
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                                        STIPULATION RE DISMISSAL
